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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


         Everett McKinley Dirksen
                                                                               Office of the Clerk
         United States Courthouse
                                                                              Phone: (312) 435-5850
      Room 2722 - 219 S. Dearborn Street
                                                                              www.ca7.uscourts.gov
           Chicago, Illinois 60604




                                           NOTICE OF DOCKETING - Short Form
July 18, 2022

To:      Roger A. G. Sharpe
         District/Bankruptcy Clerk

The below captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit:

                 Appellate Case No: 22-2256

                 Caption:
                 IN RE:
                 COOK MEDICAL, INC., IVC FILTERS MARKETING, SALES
                 PRACTICES AND PRODUCTS LIABILITY LITIGATION



                 APPEAL OF: SHIRLEY A. PARTON
                 District Court No: 1:18-cv-03371-RLY-TAB
                 Clerk/Agency Rep Roger A. G. Sharpe
                 District Judge Richard L. Young
                 Date NOA filed in District Court: 07/15/2022
                 District Court No: 1:14-ml-02570-RLY-TAB
                 Clerk/Agency Rep Roger A. G. Sharpe
                 District Judge Richard L. Young
                 Date NOA filed in District Court: 07/18/2022
If you have any questions regarding this appeal, please call this office.

form name: c7_Docket_Notice_short_form         (form ID: 188)
